   Case 16-11278-jkf        Doc 105    Filed 01/11/18 Entered 01/11/18 13:30:05      Desc Main
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                                  UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF PENNSYLVANIA

       In re:                                     :

       NORIS M. FLORES
                                                  : Bankruptcy No. 16-11278JKF
                      Debtor(s)                   : Chapter 13

                                                ORDER

         AND NOW, after notice and hearing, the above-captioned case is hereby dismissed.




                                                            BY THE COURT



Date: January 11, 2018                            ______________________________
                                                  Jean K. FitzSimon, B. J.
Interested parties:

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